Case 1:21-cv-02091-SKC Document 4 Filed 08/25/21 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:21-cv-02091-SKC

SCHOOL DISTRICT NO. 1, CITY AND COUNTY OF DENVER;

       Plaintiff,

v.

IGOR RAYKIN,

MAKENZIE BOGART,

ALAN DAVIS, and

KISHENEVSKY & RAYKIN, ATTORNEYS AT LAW;

      Defendants.
______________________________________________________________________________

   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                   PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)
______________________________________________________________________________

       Plaintiff School District No. 1 in the City and County of Denver, by and through its

undersigned attorneys, submits the following Notice of Voluntary Dismissal Without Prejudice

Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), as follows:

       1.      Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure allows a plaintiff to

voluntarily dismiss an action at any time before the defendant files an answer or motion for

summary judgment.

       2.      None of the Defendants have filed an answer or a motion for summary judgment.

       3.      Plaintiff has not previously dismissed any federal or state court action based upon

the same claim.
Case 1:21-cv-02091-SKC Document 4 Filed 08/25/21 USDC Colorado Page 2 of 2




     Accordingly, Plaintiff gives notice of the dismissal of this action without prejudice.

     RESPECTFULLY SUBMITTED this 25th day of August, 2021.

                                   SEMPLE, FARRINGTON, EVERALL & CASE, P.C.

                                   By: s/ Robert P. Montgomery
                                          M. Brent Case
                                          Mary B. Gray
                                          Robert P. Montgomery
                                          1120 Lincoln Street, Suite 1308
                                          Denver, CO 80203
                                          (303) 595-0941
                                          bcase@semplelaw.com
                                          mgray@semplelaw.com
                                          rmontgomery@semplelaw.com

                                           ATTORNEYS FOR PLAINTIFF




                                              2
